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10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                    )       No. CR 05-00395 CRB
                                                  )
15           Plaintiff,                           )       REQUEST, STIPULATION AND ORDER
                                                  )
16      v.                                        )
                                                  )
17   HYE CHA KIM,                                 )
                                                  )
18           Defendant.                           )
                                                  )
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             This matter is currently on the Court’s calendar for August 16, 2006. Through counsel,
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     defendant Hye Cha Kim and the United States ask the Court to (a) vacate the August 16, 2006
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     date based on the parties’ on-going plea negotiations, (b) set a date of September 20, 2006 for
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     status/change-of-plea, and (c) exclude time under the Speedy Trial Act, 18 U.S.C. § 3161 from
23
     August 16, 2006, to September 20, 2006.
24
        1. The parties are currently engaged in plea negotiations and request that the Court set the
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     matter for September 20, 2006, for status/change-of-plea.
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        2. Recently, the government provided defense counsel with additional discovery, including
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     bank records, and defense counsel needs time to review those materials. Further, government
28
     ORDER
     CR 05-00395 CRB
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1    counsel will be out of district the first two weeks of September. The parties anticipate further
2    discussions to resolve the case.
3       3. The parties agree that the time between August 16, 2006 and September 20, 2006 should
4    be excluded from the Speedy Trial clock. Previously, the Court has declared this case complex.
5    See 18 U.S.C. § 3161(h)(8)(B)(ii). Further, defense counsel needs time to review additional
6    materials from the government and investigate the immigration consequences of a plea
7    agreement. These matters require a short time to address, and so the parties agree that a
8    continuance is necessary for the effective preparation of defense counsel, taking into account the
9    exercise of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv). The parties also agree that the
10   ends of justice served by excluding the period from August 16, 2006 to September 20, 2006
11   outweigh the interest of the public and the defendant in a Speedy Trial. See id. § 3161(h)(8)(A).
12      STIPULATED:
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14
      August 14, 2006                                /S/ PETER B. AXELROD
15   DATE                                          PETER B. AXELROD
                                                   LAUREL BEELER
16                                                 Assistant United States Attorneys
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18
      August 14, 2006                              /S/ SCOTT SUGARMAN
19   DATE                                          SCOTT SUGARMAN
                                                   Attorney for Hye Cha Kim
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21
22                                                ORDER
23      For good cause shown, and for the reasons stated above, the Court (a) vacates the August 16,
24   2006, hearing date for defendant Hye Cha Kim based on the on-going plea negotiations, (b) sets
25   the matter for status/change-of-plea on September 20, 2006, at 2:15 p.m., and (c) excludes times
26   under the Speedy Trial Act, 18 U.S.C. § 3161, from August 16, 2006, to September 20, 2006.
27   The Court finds that the failure to grant the requested exclusion would deny defense counsel
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     ORDER
     CR 05-00395 CRB
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1    reasonable time necessary for effective preparation taking into account the exercise of due
2    diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18
3    U.S.C. § 3161(h)(8)(B)(ii). Thus, the Court finds that the ends of justice served by granting the
4    requested exclusion outweigh the best interest of the public and the defendant in a speedy trial
5    and in the prompt disposition of criminal cases. The Court therefore concludes that this
6    exclusion of time should be made under 18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and
7    (h)(8)(B)(iv).
8       IT IS SO ORDERED.                                            ISTRIC
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                                                       ED
10   DATED:________________
            August 15, 2006                       ___________________________




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     ORDER
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